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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                *****
 9   UNITED STATE OF AMERICA                         )
                                                     ) 2:03-cr-00350-LRH-LRL
10                                  Plaintiff,       )
                                                     ) ORDER
11   vs.                                             )
                                                     )
12   ARLANDERS J. GIBSON,                            )
                                                     )
13                                  Defendant.       )
                                                     )
14
15          Before the court is the Unopposed Motion for Clarification of Extent of Downward
16   Departure (#1682)1. The court confirms that it has reviewed the transcript of the sentencing
17   hearing conducted on February 6, 2006, and the court’s internal file concerning the sentencing
18   history relative to defendant Gibson.
19          The court confirms that at the time of defendant’s original sentencing on February 6,
20   2006, the court gave the defendant the benefit of a two-level reduction of his offense level based
21   upon his role in the group plea. This resulted in the following guideline calculations: a total
22   offense level of 33, a criminal history category of III, and a guideline sentencing range of 168 to
23   210 months. The court then imposed a sentence of imprisonment of 198 months.
24          The court further recalls receiving the parties’ Joint Stipulation for Discretionary Relief
25   Under 18 U.S.C. §3582(c) (#1501), which jointly recommended that defendant receive a
26   discretionary reduction and be imprisoned to a revised reduced term of 158-months’
27   imprisonment. The court reluctantly accepted the stipulation and joint recommendation, and
28   imposed the reduced term of 158 months’ imprisonment, but did so principally because of the


            1
                Refers to the court’s docketing number.
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 1   parties’ agreement. The underlying offense history was aggravated and the defendant had been
 2   treated favorably as a result of his original 198-month sentence. A discretionary reduction in his
 3   sentence of forty months was considered by the court to be the maximum favorable relief which
 4   would be imposed by the court. The court provides this information for any value it may serve.
 5   Good cause appearing,
 6            IT IS THEREFORE ORDERED that the Unopposed Motion for Clarification of Extent of
 7   Downward Departure (#1682) is hereby GRANTED and said clarification is reflected in this
 8   order.
 9            IT IS SO ORDERED.
10            DATED this 7th day of October, 2013.
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12                                                        LARRY R. HICKS
                                                          UNITED STATES DISTRICT JUDGE
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